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 2 District of Nevada

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 8
     Attorneys for Defendant
 9

10                                  UNITED STATES DISTRICT COURT

11                                         DISTRICT OF NEVADA

12
     DARREN D. CAUDILL                               )
13                                                   ) Case No.: 2:24-cv-00061-MDC
            Plaintiff,                               )
14                                                   )       UNOPPOSED MOTION FOR
                    v.                               )           EXTENSION OF TIME
15                                                   )              (FIRST REQUEST)
     MARTIN O’MALLEY,                                )
16   Commissioner of Social Security,                )
                                                     )
17          Defendant.                               )
                                                     )
18                                                   )

19          Defendant, Martin O’Malley, Commissioner of Social Security (Defendant), respectfully
20 requests that the Court extend the time for Defendant to respond to Plaintiff’s Brief (Dkt. No. 19, filed

21 on April 23, 2024), currently due on May 23, 2024, by 32 days, through and including June 24, 2024.

22 Defendant further requests that the deadline for Plaintiff’s optional reply brief be extended to July 8,

23 2024.

24          This is Defendant’s first request for an extension of time to file a response. Good cause exists
25 for this extension. Counsel is currently in the process of determining whether a settlement agreement

26 is possible in this case and needs additional time to consider this option. If the case cannot be settled,
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 1 then Defendant’s counsel will proceed with filing Defendant’s response to Plaintiff’s Brief by the new

 2 due date of June 24, 2024. Counsel for Defendant advised counsel for Plaintiff of the need for this

 3 extension on May 21, 2024. Counsel for Plaintiff confirmed that Plaintiff does not object to this

 4 request.

 5          It is therefore requested that Defendant be granted an extension of time to respond to Plaintiff’s

 6 Brief, through and including June 24, 2024. This request is made in good faith and with no intention

 7 to unduly delay the proceedings.
 8

 9          Dated: May 21, 2024                             Respectfully submitted,

10                                                          JASON M. FRIERSON
                                                            United States Attorney
11
                                                            /s/ David Priddy
12                                                          DAVID PRIDDY
                                                            Special Assistant United States Attorney
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16                                                          IT IS SO ORDERED:
17
                                                            UNITED STATES MAGISTRATE JUDGE
18

19                                                                  5-31-24
                                                            DATED: ___________________________
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 1                                     CERTIFICATE OF SERVICE

 2          I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My

 3 business address is 6401 Security Boulevard, Baltimore, Maryland 21235. I am not a party to the

 4 above-entitled action. On the date set forth below, I caused service of UNOPPOSED MOTION

 5 FOR EXTENSION OF TIME (FIRST REQUEST) on the following parties by electronically filing

 6 the foregoing with the Clerk of the District Court using its ECF System, which provides electronic

 7 notice of the filing:
 8          Marc Kalagian
            Law Offices of Lawrence D. Rohlfing, Inc., CPC
 9          12631 East Imperial Highway, Suite C115
            Santa Fe Springs, CA
10          562-273-3702
            Fax: 562-868-5491
11          Email: marc.kalagian@rksslaw.com
12          Attorney for Plaintiff
13

14          Dated: May 21, 2024

15
                                                           /s/ David Priddy
16                                                         DAVID PRIDDY
                                                           Special Assistant United States Attorney
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